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William F. Bacon, General Counsel (ISB #2766)
Shoshone-Bannock Tribes
Tribal Attorneys Office
P.O. Box 306
Fort Hall, Idaho 83203
Telephone: (208) 478-3822
Facsimile: (208) 478-9736
Email: bbacon@sbtribes.com

Mark A. Echo Hawk (ISB #5977)
ECHO HAWK & OLSEN, PLLC
P.O. Box 6119
505 Pershing Ave., Ste. 100
Pocatello, Idaho 83205-6119
Telephone: (208) 478-1624
Facsimile: (208) 478-1670
Email: mark@echohawk.com

Counsel for Plaintiff

                                   UNITED STATES DISTRICT COURT

                                      FOR THE DISTRICT OF IDAHO

SHOSHONE-BANNOCK TRIBES OF
THE FORT HALL RESERVATION,                                Case No. 4:18-cv-285-DCN

                   Plaintiff,                             MOTION FOR EXTENSION OF
          vs.                                             TIME TO RESPOND TO MOTION TO
                                                          DISMISS [Dkt. 41]
UNITED STATES OF AMERICA; et al.,

                   Defendants.


          Plaintiff Shoshone-Bannock Tribes of the Fort Hall Reservation (Tribes), through

undersigned counsel pursuant to Fed. R. Civ. P. 6(b)(1) and Local Rule 6.1, and based upon good

cause, moves for an extension of time to respond1 to United States Defendants’ Motion to

Dismiss the Amended Complaint (Docket No. 41) (Motion to Dismiss).

          United States Defendants do not oppose this motion for extension of time.

1
    The Tribes’ Response to the Motion to Dismiss is presently due on March 8, 2019.
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             As grounds for this Motion, the Tribes state:

             1.       In reponse to the Tribes’ Amended Complaint the United States Defendants filed

    a Motion to Dismiss on November 14, 2018. Id.

             2.       Plaintiff and United States Defendants jointly moved for an entry of briefing

    schedule for Plaintiff to respond to the Motion to Dismiss (Docket No. 42), and an Order setting

    a briefing schedule was entered on November 20, 2018 (Docket No. 43). In addition, all matters

    in this case were stayed during the term of the government shutdown.2

             3.       The pending Motion to Dismiss argues that a 2012 Settlement Agreement arising

    out of Shoshone-Bannock Tribes of the Fort Hall Reservation v. Salazar, Civil No. 1:02-cv-

    00254, U.S. District Court, District of Columbia (DC Case) applies to this case.

             4.       The Tribes are filing a Motion for Clarification of the 2012 Settlement Agreement

    in the DC Case. The United States will be opposing the Tribes’ Motion to Clarification in the DC

    Case.

             5.       Contemporaneously, the Tribes are filing a Motion to Stay the Proceedings

    (Motion to Stay) in this action on the grounds that the District of Columbia Court has exclusive

    jurisdiction to interpret the 2012 Settlement Agreement.

             6.       The ruling of the District of Columbia District Court will impact the issues

    pending before this Court in the Motion to Dismiss.

             7.       Defendants City of Pocatello and Union Pacific Railroad Company do not oppose

    the Tribes’ Motion to Stay.



2
     Pursuant to Local Rule 6.1(a), the Tribes inform the Court that it was previously granted an extension to respond to
    the United States Defendants’ first Motion to Dismiss the Tribes’ original Complaint (Docket No. 25); that Motion
    to Dismiss is now moot, however. The Tribes have not been granted a separate extension to respond to the present
    Motion to Dismiss the Amended Complaint.




    MOTION FOR EXTENSION OF TIME TO RESPOND TO MOTION TO DISMISS - 2
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        8.       Accordingly, the Tribes request an extension of time to respond to Defendants’

Motion to Dismiss until a ruling is made on the the Tribes’ Motion for Clarification and Motion

to Stay.

        9.       The Tribes have finite litigation resources. The litigation resources available to

the Tribes are not the same as those available to the United States. The Tribes need to dedicate

their limited litigation resources first to the Motion for Clarification and Motion to Stay.

        10.      Judicial economy favors letting the DC Court narrow the issues before this Court

before additional briefing takes place on the Motion to Dismiss.

        11.      Accordingly, the Tribes request an extension of time to respond to Defendants’

Motion to Dismiss until a ruling is made on the the Tribes’ Motion to Stay to be filed next week

in this case.

        The foregoing reasons show that good cause exists and that the Court should extend the

Tribes’ deadline to respond to the United States Defendants’ Motion to Dismiss until three days

after the Court renders a ruling on the Tribes’ Motion to Stay.



        DATED this 6th day of March, 2019.

                                                      ECHO HAWK & OLSEN, PLLC


                                                      By: /s/ Mark A. Echo Hawk
                                                         Mark A. Echo Hawk
                                                         Attorney for Plaintiff

                                                      SHOSHONE-BANNOCK TRIBES


                                                      By: /s/ Bill Bacon
                                                         William F. Bacon
                                                         General Counsel




MOTION FOR EXTENSION OF TIME TO RESPOND TO MOTION TO DISMISS - 3
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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 6, 2019, the foregoing was electronically filed through the

Court’s CM/ECF system, which caused the following parties or counsel to be served by

electronic means:

       Kristofor R. Swanson                         Claudia A. Hadjigeorgiou
       US Department of Justice                     US Department of Justice
       kristofor.swanson@usdoj.gov                  claudia.hadjigeorgiou@usdoj.gov

       Syrena C. Hargrove                           Blake G. Hall
       US Attorney, District of Idaho               City of Pocatello
       Syrena.Hargrove@usdoj.gov                    bgh@hasattorneys.com

       Lee Radford                                  John Cutler
       Union Pacific Railroad Company               Union Pacific Railroad Company
       LRadford@parsonsbehle.com                    JCutler@parsonsbehle.com

       Julianne P. Blanch
       Union Pacific Railroad Company
       JBlanch@parsonsbehle.com

                                                    ECHO HAWK & OLSEN, PLLC


                                                    /s/ Mark Echo Hawk
                                                    Mark A. Echo Hawk




MOTION FOR EXTENSION OF TIME TO RESPOND TO MOTION TO DISMISS - 4
